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10               THE UNITED STATES DISTRICT COURT
11        CENTRAL DISTRICT OF CALIFORNIA – WESTERN DIVISION
12   JANE DOE, aka Athena, an      ) Case No.:
13   individual,                   ) COLLECTIVE ACTION
                                   )
14                      Plaintiff, ) COMPLAINT FOR DAMAGES
15           vs.                   ) 1. Failure to Pay Minimum Wage,
                                   )     29 U.S.C. § 206;
16   SISYPHIAN, LLC dba XPOSED     ) 2. Failure to Pay Overtime Wages,
17   GENTLEMAN’S CLUB, a           )     29 U.S.C. § 207;
     California Limited Liability  ) 3. Unlawful Taking of Tips,
18   Company; BRAD BARNES, an      )     29 U.S.C. § 203;
19   individual; DOE MANAGERS 1-3; ) 4. Failure to Pay Minimum Wage in
     and DOES 4-100, inclusive,    )     Violation of Cal. Lab. Code §§ 1194
20                                 )     & 1197;
21                    Defendants.  ) 5. Failure to Pay Overtime Wages in
                                   )     Violation of Cal. Lab. Code §§ 510,
22                                 )     1194, & 1197;
23                                 ) 6. Failure to Furnish Accurate Wage
                                   )     Statements, Cal. Lab. Code § 226;
24                                 ) 7. Waiting Time Penalties,
25                                 ) Cal. Lab. Code §§ 201-203;
                                   ) 8. Failure to Indemnify Business
26
                                   ) Expenses in Violation of Cal. Lab.
27                                 ) Code § 2802;
                                   )
28
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                                            ) 9. Compelled Patronization of Employer
 1
                                            ) and/or Other Persons in Violation of
 2                                          ) Cal. Lab. Code § 450; and
                                            ) 10.Unfair Competition in Violation of
 3
                                            ) Cal. Bus. & Prof. Code §§ 17200, et
 4                                          ) seq.
                                            )
 5
                                            ) DEMAND FOR JURY TRIAL
 6
 7           Plaintiff JANE DOE, aka ATHENA (“Plaintiff”), individually and on
 8   behalf of all other similarly situated, alleges the following upon information and
 9   belief, based upon investigation of counsel, published reports, and personal
10   knowledge:
11   I.      NATURE OF THE ACTION
12           1.   Plaintiff alleges causes of action against defendants SISYPHIAN,
13   LLC dba XPOSED GENTLEMAN’S CLUB(“Defendant” or “XPosed”), a
14   California Limited Liability Company; BRAD BARNES (“Defendant” or
15   “Barnes”), an individual; DOE MANAGERS 1-3; and DOES 4-100, inclusive
16   (collectively, “Defendants”) for damages due to Defendants evading the
17   mandatory minimum wage and overtime provisions of the Fair Labor Standards
18   Act (“FLSA”), 29 U.S.C. §§ 201, et seq. and illegally absconding with Plaintiff’s
19   tips.
20           2.   As a result of Defendants’ violations, Plaintiff seeks to recover all
21   tips kept by the employer, liquidated damages, interest, and attorneys’ fees and
22   costs pursuant to the FLSA.
23           3.   These causes of action arise from Defendants’ willful actions while
24   Plaintiff was employed by Defendants from approximately 2011 through 2017.
25   During her time being employed by Defendants, Plaintiff was denied minimum
26   wage payments and denied overtime as part of Defendants’ scheme to classify
27   Plaintiff and other dancers/entertainers as “independent contractors.” As the
28   Department of Labor explained in a recent Administrative Interpretation:
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                 Misclassification of employees as independent contractors is
 1
                 found in an increasing number of workplaces in the United
 2               States, in part reflecting larger restructuring of business
 3               organizations. When employers improperly classify
                 employees as independent contractors, the employees may
 4               not receive important workplace protections such as the
 5               minimum wage, overtime compensation, unemployment
                 insurance, and workers’ compensation. Misclassification
 6               also results in lower tax revenues for government and an
 7               uneven playing field for employers who properly classify
                 their workers. Although independent contracting
 8               relationships can be advantageous for workers and
 9               businesses, some employees may be intentionally
                 misclassified as a means to cut costs and avoid compliance
10
                 with labor laws.1
11          As alleged in more detail below, that is exactly what Defendants are, and
12   were at all times relevant, doing.
13          4.     Plaintiff worked at Defendants’ principal place of business located at
14   8229 Canoga Park Avenue, Canoga Park, California 91304.
15          5.     XPosed failed to pay Plaintiff minimum wages and overtime wages
16   for all hours worked in violation of 29 U.S.C. §§ 206 and 207 of the FLSA.
17          6.     Defendants’ conduct violates the FLSA, which requires non-exempt
18   employees to be compensated for their overtime work at a rate of one and one-
19   half (1 ½) times their regular rate of pay. See 29 U.S.C. § 207(a).
20          7.     Furthermore, Defendants’ practice of failing to pay tipped
21   employees pursuant to 29 U.S.C. § 203(m), violates the FLSA’s minimum wage
22   provision. See 29 U.S.C. § 206.
23          8.     Plaintiff brings a collective action to recover the unpaid overtime
24   compensation and minimum wage owed to her individually and on behalf of all
25   other similarly situated employees, current and former, of Defendants in
26
27   1
         See DOL Admin. Interp. No. 2015-1, available at
28       http://www.dol.gov/whd/workers/Misclassification/AI- 2015_1.pdf.
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 1   California. Members of the Collective Action are hereinafter referred to as
 2   “FLSA Class Members.”
 3          9.    As a result of Defendants’ violations, Plaintiff and the FLSA Class
 4   Members seek to recover double damages for failure to pay minimum wage,
 5   overtime liquidated damages, interest, and attorneys’ fees.
 6    II.   VENUE AND JURISDICTION
 7          10.   This Court has jurisdiction over the subject matter of this action
 8   under 28 U.S.C. § 1331 because this action arises under the FLSA, 29 U.SC. §
 9   201, et seq. Plaintiff’s state law claim for relief are within the supplemental
10   jurisdiction of the Court pursuant to 28 U.S.C. § 1367(a).
11          11.   Venue is proper in this District because at least fifty (50) percent of
12   all known Defendants reside in Los Angeles County. Further, venue is proper in
13   this District because all or a substantial portion of the events forming the basis of
14   this action occurred in this District. Defendants’ club is located in this District
15   and Plaintiff worked in this District.
16          12.   Plaintiff has satisfied all conditions precedent, if any, to the filing of
17   this suit.
18   III.   PARTIES
19          13.   Plaintiff is an individual adult resident of the State of California.
20   Furthermore, Plaintiff was employed by Defendants and qualifies as an
21   “employee” of Defendants as defined by the FLSA, 29 U.S.C. § 203(e)(1). Her
22   consent to this action is attached hereto as Exhibit 1.
23          14.   The FLSA Class Members are all current and former exotic
24   dancers/entertainers who worked at XPosed located at 18229 Canoga Park
25   Avenue, Canoga Park, California 91304 at any time starting three (3) years
26   before this Complaint was filed, up to the present.
27          15.   XPosed is a California Limited Liability Company with its principal
28   place of business at 8229 Canoga Park Avenue, Canoga Park, California 91304.
           COLLECTIVE COMPLAINT FOR DAMAGES; DEMAND FOR JURY TRIAL
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 1   At all times mentioned herein, XPosed was an “employer” or “joint employer” of
 2   Plaintiff as defined by the FLSA, 29 U.S.C. § 203(d) and (g). XPosed may be
 3   served via its agent for service of process R.I. Manuwal, 6320 Canoga Avenue,
 4   Suite 270, Woodland Hills, California 91367.
 5         16.    Barnes was/is the main manager who executed the policies regarding
 6   payment to dancers/entertainers and management of dancers/entertainers,
 7   including Plaintiff. Barnes is also the owner of XPosed and resides in Los
 8   Angeles County, California.
 9         17.    Barnes acted directly or indirectly on behalf of XPosed, and, at all
10   times mentioned herein was an “employer” or “joint employer” of Plaintiff
11   within the meaning of the FLSA. He exerted operational and management control
12   over XPosed, including day to day management. He is the only member of the
13   LLC and frequently present at, owned, directed, controlled and managed the
14   operations at XPosed. He also controlled the nature, pay structure, and
15   employment relationship of Plaintiff and the FLSA Class Members. Barnes had
16   at all times relevant to this lawsuit, the authority to hire and fire employees at
17   XPosed, the authority to direct and supervise the work of employees, the
18   authority to sign on the business’ checking accounts, including payroll accounts,
19   and the authority to make decisions regarding employee compensation and
20   capital expenditures. Additionally, he was responsible for the day-to-day affairs
21   of XPosed. In particular, he was responsible for determining whether XPosed
22   complied with the FLSA.
23         18.    DOE MANAGERS 1-3 are the managers/owners who control the
24   policies and enforce the policies related to employment at XPosed.
25         19.    At all material times, Defendants have been an enterprise in
26   commerce or in the production of goods for commerce within the meaning of 29
27   U.S.C. § 203(r)(1) of the FLSA because they have had employees at their club
28   engaged in commerce their club which has travelled in interstate commerce.
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 1   Moreover, because of Defendants’ interrelated activities, they function in
 2   interstate commerce. 29 U.S.C. § 203(s)(1).
 3         20.    Furthermore, Defendants have had, and continue to have, an annual
 4   gross business volume in excess of the statutory standard.
 5         21.    At all material times during the three (3) years prior to the filing of
 6   this action, Defendants categorized all dancers/entertainers employed at XPosed
 7   as “independent contractors” and have failed and refused to pay wages or
 8   compensation to such dancers/entertainers. Plaintiff was an individual employee
 9   who engaged in commerce or in the production of goods for commerce as
10   required by 29 USC §§ 206-207.
11         22.    The true names, capacities or involvement, whether individual,
12   corporate, governmental or associate, of the Defendants named herein as DOES 4
13   through 100, inclusive are unknown to Plaintiff who therefore sues said
14   Defendants by such fictitious names. Plaintiff prays for leave to amend this
15   Complaint to show their true names and capacities when the same have been
16   finally determined. Plaintiff is informed and believes, and upon such information
17   and belief alleges thereon, that each of the Defendants designated herein as DOE
18   is negligently, intentionally, strictly liable or otherwise legally responsible in
19   some manner for the events and happenings herein referred to, and negligently,
20   strictly liable intentionally or otherwise caused injury and damages proximately
21   thereby to Plaintiff, as is hereinafter alleged.
22         23.    Plaintiff is informed and believes that, at all relevant times herein,
23   Defendants engaged in the acts alleged herein and/or condoned, permitted,
24   authorized, and/or ratified the conduct of its employees and agents, and other
25   Defendants and are vicariously or strictly liable for the wrongful conduct of its
26   employees and agents as alleged herein.
27         24.    Plaintiff is informed and believes, and on that basis alleges that, each
28   of the Defendants acted, in all respects pertinent to this action, as the agent or
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 1   employee of each other, and carried out a joint scheme, business plan, or policy in
 2   all respect thereto and, therefore, the acts of each of these Defendants are legally
 3   attributable to the other Defendants, and that these Defendants, in all respects,
 4   acted as employer and/or joint employers of Plaintiff in that each of them
 5   exercised control over her wage payments and control over her duties.
 6          25.   Plaintiff is informed and believes, and on that basis alleges that, at all
 7   relevant times, each and every Defendant has been the agent, employee,
 8   representative, servant, master, employer, owner, agent, joint venture, and alter
 9   ego of each of the other and each was acting within the course and scope of his or
10   her ownership, agency, service, joint venture and employment.
11          26.   At all times mentioned herein, each and every Defendant was the
12   successor of the other and each assumes the responsibility for the acts and
13   omissions of all other Defendants.
14   IV.    ALLEGATIONS COMMON TO ALL CAUSES OF ACTION
15                             (AGAINST ALL DEFENDANTS)
16          A.    FACTUAL ALLEGATIONS
17          27.   Defendants operate an adult-oriented entertainment facility located
18   at 8229 Canoga Park Avenue, Canoga Park, California 91304. At all times
19   mentioned herein, Defendants were “employer(s)” or “joint employer(s)” of
20   Plaintiff.
21          28.   At all times during the four (4) years prior to the filing of the instant
22   action, Defendants categorized all dancers/entertainers employed by Defendants
23   as “independent contractors” and have failed and refused to pay wages to such
24   dancers.
25          29.   At all times relevant to this action, Defendants exercised a great deal
26   of operational and management control over the subject club, particularly in the
27   areas of terms and conditions of employment applicable to dancers and
28   entertainers.
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 1          30.   Plaintiff began working as a dancer for Defendants in 2011 and
 2   continued through approximately 2017.
 3          31.   The primary duty of a dancer/entertainer is to dance and entertain
 4   customers, and give them a good experience. Specifically, a dancer/ entertainer
 5   performs stage and table dances, and entertains customers on an hourly basis.
 6          32.   Stated differently,dancers/ entertainers dance on stage, perform table
 7   dances, and entertain customers in VIP rooms, all while nude or semi-nude.
 8          33.   Plaintiff worked and performed at the adult-oriented entertainment
 9   facility multiple shifts per week. Plaintiff was an integral part of Defendants’
10   business which operated solely as an adult-oriented entertainment facility
11   featuring nude or semi-nude female dancers/ entertainers.
12          34.   Defendants did not pay dancers/ entertainers on an hourly basis.
13          35.   Defendants exercised significant control over Plaintiff during her
14   shifts and would demand that Plaintiff stay to 4:00 a.m. or 6:00 a.m. if she
15   worked.
16          36.   Defendants set prices for all VIP performances.
17          37.   Defendants set the daily cover charge for customers to enter the
18   facility and had complete control over which customers were allowed in the
19   facility.
20          38.   Defendants controlled music for Plaintiff’s performances.
21          39.   Defendants controlled the means and manner in which Plaintiff
22   could perform.
23          40.   Defendants placed Plaintiff on a schedule.
24          41.   Defendants had the authority to suspend, fine, fire, or otherwise
25   discipline entertainers for non-compliance with their rules regarding dancing.
26          42.   Defendants actually suspended, fined, fired, or otherwise disciplined
27   entertainers for non-compliance with their rules regarding dancing.
28   ///
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 1         43.    Although Defendant allowed dancers/entertainers to choose their
 2   own costumes, Defendants reserved the right to decide what a particular
 3   entertainer was allowed to wear on the premises. In order to comply with
 4   XPosed’s dress and appearance standards, Plaintiff typically expended
 5   approximately one (1) hour of time each shift getting ready for work without
 6   being paid any wages for such time getting ready.
 7         44.    Plaintiff was compensated exclusively through tips from Defendants'
 8   customers. That is, Defendants did not pay Plaintiff whatsoever for any hours
 9   worked at their establishment.
10         45.    Defendants also required Plaintiff to share her tips with Defendants
11   and other non-service employees who do not customarily receive tips, including
12   the managers, disc jockeys, and the bouncers.
13         46.    Defendants are in violation of the FLSA’s tipped-employee
14   compensation provision, 29 U.S.C. § 203(m), which requires employers to pay a
15   tipped employee a minimum of $2.13 per hour. Defendants also violated 29
16   U.S.C. § 203(m) when they failed to notify Plaintiff about the tip credit
17   allowance (including the amount to be credited) before the credit was utilized.
18   That is, Defendants’ exotic dancers/entertainers were never made aware of how
19   the tip credit allowance worked or what the amounts to be credited were.
20   Furthermore, Defendants violated 29 U.S.C. § 203(m) because they did not allow
21   Plaintiff to retain all of her tips and instead required that she divide her tips
22   amongst other employees who do not customarily and regularly receive tips.
23   Because Defendants violated the tip-pool law, Defendants lose the right to take a
24   credit toward minimum wage.
25         47.    Defendants exercised significant control over Plaintiff through
26   written and unwritten policies and procedures. Defendants had visibly posted in
27   the employees’ locker room the written employee rules for late arrivals and early
28   leaves and the corresponding fees for which performers would be responsible.
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  1           48.   XPosed provided and paid for all advertising and marketing efforts
  2    undertaken on behalf of XPosed.
  3           49.   XPosed paid for the building used by XPosed, maintenance of the
  4    facility, the sound system, stages, lights, beverage and inventory used at the
  5    facility.
  6           50.   Defendants made all hiring decisions regarding wait staff, security,
  7    entertainers, managerial and all other employees on the premises.
  8           51.   XPosed’s opportunity for profit and loss far exceeded Plaintiff’s
  9    opportunity for profit and loss from work at XPosed.
 10           52.   Nude dancing is an integral part of XPosed’s operations. XPosed’s
 11    advertising and logo prominently displays nude dancing for its customers.
 12    XPosed is well known as a “strip club.”
 13           53.   XPosed needsdancers/ entertainers to successfully and profitably
 14    operate the XPosed business model.
 15           54.   The position of dancer/entertainer requires no managerial skill of
 16    others.
 17           55.   The position of dancer/entertainer requires little other skill or
 18    education, formal or otherwise.
 19           56.   The only requirements to become an entertainer at XPosed are
 20    “physical attributes” and the ability to dance seductively. Plaintiff did not have a
 21    formal interview but instead was glanced over “up and down” and participated in
 22    a brief audition by the manager before being offered an employment opportunity.
 23    The amount of skill required is more akin to an employment position than that of
 24    a typical independent contractor. Defendants do not require prior experience as
 25    an entertainer or any formal dance training as a job condition or prerequisite to
 26    employment. Defendants do not require the submission of an application or a
 27    resume as part of the hiring process. In fact, Plaintiff has little or no formal dance
 28    training and experience before auditioning to dance at XPosed.
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  1          57.    Defendants failed to maintain records of wages, fines, fees, tips and
  2    gratuities and/or service charges paid or received by dancers/entertainers.
  3          58.    Plaintiff was not paid an hourly minimum wage or any hourly wage
  4    or salary despite being present at Defendants’ facility and required to work and
  5    entertain its customers at any time during an eight-plus (8+) hour work shift.
  6          59.    Plaintiff was not paid overtime wages at one-and-a-half (1½) times
  7    the regular minimum wage rate for any hours worked despite being present at
  8    Defendants’ facility and required to work and entertain its customers for longer
  9    than eight (8) hours per shift.
 10          60.    Plaintiff was not paid an hourly minimum wage for the typical one
 11    (1) hour of time expended prior to each shift to get ready for work, including
 12    applying makeup and hair, and to comply with Defendants’ dress and appearance
 13    standards. Plaintiff estimates that she spent approximately five hundred U.S.
 14    Dollars ($500.00) annually on makeup, hair-related expenses, and outfits.
 15          61.    Plaintiff was not paid an hourly minimum wage for the time she was
 16    required to wait at XPosed until the premises and the parking lot were cleared of
 17    customers.
 18          62.    The FLSA Class Members had the same pay structure and were
 19    under the same controls as Plaintiff.
 20          63.    Plaintiff and FLSA Class Members would work over forty (40)
 21    hours in some weeks each worked for Defendants.
 22          64.    Defendants have never paid Plaintiff and FLSA Class Members any
 23    amount as wages whatsoever, and have instead unlawfully required Plaintiff and
 24    FLSA Class Members to pay them for the privilege of working.
 25          65.    The only source of monies received by Plaintiff (and the class she
 26    seeks to represent) relative to her employment with Defendants came in the form
 27    of gratuities received directly from customers, a portion of which Plaintiff and
 28    the FLSA Class Members were required to pay to Defendants.
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  1          66.     Although Plaintiff and FLSA Class Members are required to and do
  2    in fact frequently work more than forty (40) hours per workweek, they are not
  3    compensated at the FLSA mandated time-and-a-half rate for hours in excess of
  4    forty (40) per workweek. In fact, they receive no compensation whatsoever from
  5    Defendants and thus, Defendants violate the minimum wage requirement of
  6    FLSA. See 29 U.S.C. § 206.
  7          67.     Defendants' method of paying Plaintiff in violation of the FLSA was
  8    willful and was not based on a good faith and reasonable belief that its conduct
  9    complied with the FLSA. Defendants misclassified Plaintiff with the sole intent
 10    to avoid paying her in accordance to the FLSA; the fees and fines described
 11    herein constitute unlawful “kickbacks” to the employer within the meaning of the
 12    FLSA, and Plaintiff is entitled to restitution of such fines and fees.
 13          68.     Plaintiff and the FLSA Class Members who worked at XPosed
 14    performed precisely the same job duties - dancing and entertaining at XPosed.
 15          69.     Plaintiff and the FLSA Class Members who worked at XPosed
 16    during the applicable limitations period(s) were subject to the same work rules
 17    established by the Defendants as identified above.
 18          70.     Plaintiff and the FLSA Class Members at XPosed were subject to
 19    the terms and conditions of employment and the same degree of control,
 20    direction, supervision, promotion and investment imposed or performed by
 21    Defendants.
 22          71.     Plaintiff and the FLSA Class Members at XPosed during the
 23    applicable limitations period(s) were subject to the same across-the-board,
 24    uniformly applied corporate policy mandated by Defendants.
 25          72.     Plaintiff and the FLSA Class Members at XPosed, during the
 26    applicable limitations period, were subject to the same fees and fines imposed by
 27    Defendants.
 28    ///
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  1             73.   As a result of Defendants’ across-the-board, standard operating
  2    procedure of mischaracterizing dancers/entertainers as “independent contractors”
  3    and their consequent failure to pay any wages or compensation whatsoever, it is a
  4    certainly that numerous other current and former dancers and entertainers who
  5    worked at XPosed during the applicable limitations period would elect to
  6    participate in this action if provided notice of same.
  7             74.   Upon information and belief, more than one hundred (100) dancers
  8    and entertainers have worked at XPosed during the three (3) to five (5) years
  9    prior to the filing of this action.
 10             75.   Plaintiff is “similarly situated” to the 29 U.S.C. § 216(b) class of
 11    persons she seeks to represent, and will adequately represent the interests of the
 12    class.
 13             76.   Plaintiff has hired Counsel experienced in class actions and in
 14    collective actions under 29 U.S.C. § 216(b) who will adequately represent the
 15    class.
 16             77.   Defendants failed to keep records of tips, gratuities and/or service
 17    charges paid to Plaintiff or any other dancer/entertainer and failed to maintain
 18    and furnish wage statements to Plaintiff.
 19             78.   Federal law mandates that an employer is required to keep for three
 20    (3) years all payroll records and other records containing, among other things, the
 21    following information:
 22             a.    The time of day and day of week on which the employees’ work
 23                   week begins;
 24             b.    The regular hourly rate of pay for any workweek in which overtime
 25                   compensation is due under section 7(a) of the FLSA;
 26             c.    An explanation of the basis of pay by indicating the monetary
 27                   amount paid on a per hour, per day, per week, or other basis;
 28    ///
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  1            d.    The amount and nature of each payment which, pursuant to
  2                  section 7(e) of the FLSA, is excluded from the “regular rate”;
  3            e.    The hours worked each workday and total hours worked each
  4                  workweek;
  5            f.    The total daily or weekly straight time earnings or wages due for
  6                  hours worked during the workday or workweek, exclusive of
  7                  premium overtime compensation;
  8            g.    The total premium for overtime hours. This amount excludes the
  9                  straight-time earnings for overtime hours recorded under this section;
 10            h.    The total additions to or deductions from wages paid each pay period
 11                  including employee purchase orders or wage assignments;
 12            i.    The dates, amounts, and nature of the items which make up the total
 13                  additions and deductions;
 14            j.    The total wages paid each pay period; and
 15            k.    The date of payment and the pay period covered by payment.
 16    29 C.F.R. 516.2, 516.5.
 17            79.   Defendants have not complied with federal law and have failed to
 18    maintain such records with respect to Plaintiff and the FLSA Class Members.
 19    Because Defendants’ records are inaccurate and/or inadequate, Plaintiff and the
 20    FLSA Class Members can meet their burden under the FLSA by proving that
 21    they, in fact, performed work for which they were improperly compensated, and
 22    produce sufficient evidence to show the amount and extent of their work “as a
 23    matter of a just and reasonable inference.” See, e.g., Anderson v. Mt. Clemens
 24    Pottery Co., 328 U.S. 680, 687 (1946). Plaintiff seeks to put Defendants on
 25    notice that she intends to rely on Anderson to provide the extent of her unpaid
 26    work.
 27    ///
 28    ///
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  1          B.     INDIVIDUAL LIABILITY UNDER THE FAIR LABOR STANDARDS ACT
  2          80.    In Boucher v. Shaw, 572 F.3d 1087 (9th Cir. 2009), the U.S. Court
  3    of Appeals for the Ninth Circuit held that individuals can be liable for FLSA
  4    violations under an expansive interpretation of “employer.” Id. at 1088. The
  5    FLSA defines “employer” as “any person acting directly or indirectly in the
  6    interest of an employer in relation to an employee.” 29 U.S.C. § 203(d). The
  7    Ninth Circuit stated that the definition of “employer” under FLSA is not limited
  8    by the common law concept of “employer” but “is to be given an expansive
  9    interpretation in order to effectuate the FLSA’s broad remedial purposes.”
 10          81.    Where an individual exercises “control over the nature and structure
 11    of the employment relationship,” or “economic control” over the relationship,
 12    that individual is an employer within the meaning of the FLSA, and is subject to
 13    liability. Lambert v. Ackerley,180 F.3d 997 (9th Cir. 1999). The Ninth Circuit
 14    highlighted factors related to “economic control,” which included ownership
 15    interest, operational control of significant aspects of the day-to-day functions, the
 16    power to hire and fire employees, determine salaries, and the responsibility to
 17    maintain employment records.
 18          82.    Barnes is individually liable for failing to pay Plaintiff her wages.
 19    The actual identities of DOE Managers 1-3 and DOES 4 through 100 are
 20    unknown at this time.
 21    V.     COLLECTIVE ACTION ALLEGATIONS
 22          83.    Plaintiff hereby incorporates by reference and re-alleges each and
 23    every allegation set forth in each and every preceding paragraph as though fully
 24    set forth herein.
 25          84.    Plaintiff brings this action as an FLSA collective action pursuant to
 26    29 U.S.C. § 216(b) on behalf of all persons who were or are employed by
 27    Defendants as exotic dancers/entertainers at any time during the three (3) years
 28    prior to the commencement of this action to present.
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  1          85.    Plaintiff has actual knowledge that the FLSA Class Members have
  2    also been denied overtime pay for hours worked over forty(40) hours per
  3    workweek and have been denied pay at the federally mandated minimum wage
  4    rate. That is, Plaintiff worked with other dancers at XPosed. As such, she has
  5    firsthand personal knowledge of the same pay violations throughout Defendants’
  6    club. Furthermore, other exotic dancers/entertainers at Defendants’ club XPosed
  7    have shared with her similar pay violation experiences as those described in this
  8    Complaint.
  9          86.    Other employees similarly situated to the Plaintiff work or have
 10    worked at XPosed but were not paid overtime at the rate of one and one-half
 11    (1½) their regular rate when those hours exceeded forty (40) hours per
 12    workweek. Furthermore, these same employees were denied pay at the federally
 13    mandated minimum wage rate.
 14          87.    Although Defendants permitted and/or required the FLSA Class
 15    Members to work in excess of forty (40) hours per workweek, Defendants have
 16    denied them full compensation for their hours worked over forty (40).
 17    Defendants have also denied them full compensation at the federally mandated
 18    minimum wage rate.
 19          88.    FLSA Class Members perform or have performed the same or
 20    similar work as the Plaintiff.
 21          89.    FLSA Class Members regularly work or have worked in excess of
 22    forty (40) hours during a workweek.
 23          90.    FLSA Class Members regularly work or have worked and did not
 24    receive minimum wage.
 25          91.    FLSA Class Members are not exempt from receiving overtime
 26    and/or pay at the federally mandated minimum wage rate under the FLSA.
 27    ///
 28    ///
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  1          92.    As such, FLSA Class Members are similar to Plaintiff in terms of
  2    job duties, pay structure, misclassification as independent contractors and/or the
  3    denial of overtime and minimum wage.
  4          93.    Defendants’ failure to pay overtime compensation and hours worked
  5    at the minimum wage rate required by the FLSA results from generally
  6    applicable policies or practices, and does not depend on the personal
  7    circumstances of the FLSA Class Members.
  8          94.    The experiences of the Plaintiff, with respect to her pay, are typical
  9    of the experiences of the FLSA Class Members.
 10          95.    The specific job titles or precise job responsibilities of each FLSA
 11    Class Member does not prevent collective treatment.
 12          96.    All FLSA Class Members, irrespective of their particular job
 13    requirements, are entitled to overtime compensation for hours worked in excess
 14    of forty (40) during a workweek.
 15          97.    All FLSA Class Members, irrespective of their particular job
 16    requirements, are entitled to compensation for hours worked at the federally
 17    mandated minimum wage rate.
 18          98.    Although the exact number of damages may vary among FLSA
 19    Class Members, the damages for the FLSA Class Members can be easily
 20    calculated by a simple formula. The claims of all FLSA Class Members arise
 21    from a common nucleus of facts. Liability is based on a systematic course of
 22    wrongful conduct by the Defendant that caused harm to all FLSA Class
 23    Members.
 24    ///
 25    ///
 26    ///
 27    ///
 28    ///
             COLLECTIVE COMPLAINT FOR DAMAGES; DEMAND FOR JURY TRIAL
                                              – 17 –
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  1          99.    As such, Plaintiff brings her FLSA claims as a collective action on
  2    behalf of the following class:
  3             All of Defendants’ current and former exotic
  4             dancers/entertainers who worked at the XPosed located in
  5             Canoga Park, California at any time starting three (3) years
  6             before this Complaint was filed.
  7    VI.    CAUSES OF ACTION
  8                              FIRST CAUSE OF ACTION
  9     FAILURE TO PAY MINIMUM WAGE PURSUANT TO THE FLSA, 29 U.S.C. § 206
 10                (By Plaintiff Individually and on Behalf of the Collective
 11                                 Against All Defendants)
 12          100. Plaintiff hereby incorporates by reference and re-alleges each and
 13    every allegation set forth in each and every preceding paragraph as though fully
 14    set forth herein.
 15          101. Defendants are engaged in “commerce” and/or in the production of
 16    “goods” for “commerce” as those terms are defined in the FLSA.
 17          102. Defendants operate an enterprise engaged in commerce within the
 18    meaning of the FLSA, 29 U.S.C. § 203(s)(1), because it has employees engaged
 19    in commerce, and because its annual gross volume of sales made is more than
 20    five hundred thousand U.S. Dollars ($500,000).
 21          103. Defendants failed to pay Plaintiff the minimum wage in violation of
 22    29 U.S.C. § 206.
 23          104. Based upon the conduct alleged herein, Defendants knowingly,
 24    intentionally and willfully violated the FLSA by not paying Plaintiff the
 25    minimum wage under the FLSA.
 26          105. Throughout the relevant period of this lawsuit, there is no evidence
 27    that Defendants’ conduct that gave rise to this action was in good faith and based
 28    on reasonable grounds. In fact, Defendants continued to violate the FLSA long
             COLLECTIVE COMPLAINT FOR DAMAGES; DEMAND FOR JURY TRIAL
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  1    after they learned that their misclassification scheme and compensation policies
  2    were illegal.
  3           106. Due to Defendants’ FLSA violations, Plaintiff is entitled to recover
  4    from Defendants, minimum wage compensation and an equal amount in the
  5    form of liquidated damages, as well as reasonable attorneys’ fees and costs of the
  6    action, including interest, pursuant to 29 U.S.C. § 216(b).
  7                            SECOND CAUSE OF ACTION
  8     FAILURE TO PAY OVERTIME WAGES PURSUANT TO THE FLSA, 29 U.S.C. § 207
  9                (By Plaintiff Individually and on Behalf of the Collective
 10                                 Against All Defendants)
 11           107. Plaintiff hereby incorporates by reference and re-alleges each and
 12    every allegation set forth in each and every preceding paragraph as though fully
 13    set forth herein..
 14           108. Each Defendant is an “employer” or “joint employer” of Plaintiff
 15    within the meaning of the FLSA, 29 U.S.C. § 203(d).
 16           109. Defendants are engaged in “commerce” and/or in the production of
 17    “goods” for “commerce” as those terms are defined in the FLSA.
 18           110. Defendants operate an enterprise engaged in commerce within the
 19    meaning of the FLSA, 29 U.S.C. § 203(s)(1), because it has employees engaged
 20    in commerce, and because its annual gross volume of sales made is more than five
 21    hundred thousand U.S. Dollars ($500,000.00).
 22           111. Defendants failed to pay Plaintiff the applicable overtime wage for
 23    each hour in excess of forty (40) during each workweek in which she worked in
 24    violation of 29 U.S.C. § 207.
 25           112. Based upon the conduct alleged herein, Defendants knowingly,
 26    intentionally and willfully violated the FLSA by not paying Plaintiff the overtime
 27    wage required under the FLSA.
 28    ///
             COLLECTIVE COMPLAINT FOR DAMAGES; DEMAND FOR JURY TRIAL
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  1            113. Throughout the relevant period of this lawsuit, there is no evidence
  2    that Defendants’ conduct that gave rise to this action was in good faith and based
  3    on reasonable grounds. In fact, Defendants continued to violate the FLSA long
  4    after they learned that their misclassification scheme and compensation policies
  5    were unlawful.
  6            114. Due to Defendants’ FLSA violations, Plaintiff is entitled to recover
  7    from Defendants, overtime wage compensation and an equal amount in the form
  8    of liquidated damages, as well as reasonable attorneys’ fees and costs of the
  9    action, including interest, pursuant to 29 U.S.C. § 216(b).
 10                              THIRD CAUSE OF ACTION
 11          UNLAWFUL TAKING OF TIPS IN VIOLATION OF THE FLSA, 29 U.S.C. § 203
 12                (By Plaintiff Individually and on Behalf of the Collective
 13                                 Against All Defendants)
 14            115. Plaintiff hereby incorporates by reference and re-alleges each and
 15    every allegation set forth in each and every preceding paragraph as though fully
 16    set forth herein.
 17            116. Plaintiff customarily and regularly received more than thirty U.S.
 18    Dollars ($30.00) a month in tips and therefore is a tipped employee as defined in
 19    the FLSA, 29 U.S.C. § 203(t), see also 29 C.F.R. § 531.50.
 20            117. At all relevant times, each Defendant is an “employer” or joint
 21    employer of Plaintiff within the meaning of the FLSA, 29 U.S.C. § 203(d).
 22            118. Defendants are engaged in “commerce” and/or in the production of
 23    “goods” for “commerce” as those terms are defined in the FLSA.
 24            119. Defendants operate an enterprise engaged in commerce within the
 25    meaning for the FLSA, 29 U.S.C. § 203(s)(1), because it has employees engaged
 26    in commerce, and because its annual gross volume of sales made is more than five
 27    hundred thousand U.S. Dollars ($500,000).
 28    ///
               COLLECTIVE COMPLAINT FOR DAMAGES; DEMAND FOR JURY TRIAL
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  1          120. Under TIPA:
  2                 [a]n employer may not keep tips received by its
                    employees for any purpose including allowing managers
  3                 or supervisors to keep any portion of employees’ tips,
                    regardless of whether or not it takes a tip credit.
  4
  5          29 U.S.C. § 203.

  6          121. Defendants kept a portion of tips paid to Plaintiff by Defendants’
  7    customers in the form of fees, fines, mandatory charges and other payments to
  8    management, house moms, disc jockeys, and floor men in violation of TIPA.
  9          122. Defendants required Plaintiff to participate in an illegal tip pool,
 10    which included employees who do not customarily and regularly receive tips, and
 11    do not have more than a de minimis, if any, interaction with customers leaving the
 12    tips (such as the Club DJs, security, and management). See U.S. Dep’t of Labor,
 13    Wage and Hour Division, “Fact Sheet # 15: Tipped employees under the Fair
 14    Labor Standards Act (FLSA).”
 15          123. The contribution the Defendants required Plaintiff to make after each
 16    shift was arbitrary and capricious and the distribution was not agreed to by
 17    Plaintiff other dancers; but rather, was imposed upon Plaintiff and other dancers.
 18          124. By requiring Plaintiff to pool her tips with club management,
 19    including the individual Defendants named herein, Defendants “retained” a
 20    portion of the tips received by Plaintiff in violation of the FLSA.
 21          125. Defendants did not make any effort, let alone a “good faith” effort, to
 22    comply with the FLSA as it relates to compensation owed to Plaintiff.
 23          126. At the time of their illegal conduct, Defendants knew or showed
 24    reckless disregard that the tip-pool which they required Plaintiff to contribute
 25    included non-tipped employees and, therefore, was statutorily illegal. In spite of
 26    this, Defendants willfully failed and refused to pay Plaintiff the proper amount of
 27    the tips to which she was entitled.
 28    ///
             COLLECTIVE COMPLAINT FOR DAMAGES; DEMAND FOR JURY TRIAL
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  1             127. Defendants’ willful failure and refusal to pay Plaintiff the tips she
  2    earned violates the FLSA.
  3             128. Defendants kept a portion of tips paid to Plaintiff by Defendants’
  4    customers in the form of fees, fines, mandatory charges and other payments to
  5    management, house moms, disc jockeys, and door men in violation of TIPA.
  6             129. As a result of the acts and omissions of the Defendants as alleged
  7    herein, and pursuant to 29 U.S.C. §§ 216(b) and 260, Plaintiff is entitled to
  8    damages in the form of all misappropriated tips, plus interest; as liquated
  9    damages, an amount equal to all misappropriated tips, mandatory attorneys’ fees,
 10    costs, and expenses.
 11                               FOURTH CAUSE OF ACTION
 12          FAILURE TO PAY MINIMUM WAGE UNDER CAL. LAB. CODE §§ 1194 & 1197
 13                     (By Plaintiff Individually Against All Defendants)
 14             130. Plaintiff hereby incorporates by reference and re-alleges each and
 15    every allegation set forth in each and every preceding paragraph as though fully
 16    set forth herein.
 17             131. Plaintiff alleges, on the basis of information and belief, that
 18    Defendants, from the time the applicable statute of limitations begins to the
 19    present time, have engaged in the regular practice of requiring or permitting
 20    Plaintiff to work without paying her the legal minimum wage at all times.
 21             132. Section 2(K) of IWC Wage Order 5 and section 5(H) of IWC Wage
 22    Order 10 define “hours worked” as “the time during which an employee is subject
 23    to the control of the employer, [which] includes all the time the employee is
 24    suffered or permitted to work, whether or not required to do so.” An employer
 25    must pay its employees for all “hours worked.”
 26             133. Defendants did not pay wages for any of the time that they controlled
 27    Plaintiff and/or permitted her to work.
 28    ///
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  1          134. Plaintiff is not exempt from the minimum wage requirements under
  2    California law.
  3          135. Defendants failed to accurately pay Plaintiff the required legal
  4    minimum wage and compensation for all hours worked, in violation of Cal. Lab.
  5    Code §§ 204, 210, 216, 558, 1194, 1194.12, 1197 and applicable IWC Wage
  6    Order(s).
  7          136. Defendants, and each of them, individually or by and through their
  8    respective officers, directors and managing agents, ordered, authorized, approved
  9    or ratified the conduct herein alleged with the intent to deprive Plaintiff
 10    compensation and benefits to which she is, and was, entitled under California law,
 11    so as to increase Defendants’ profits at the expense of the health and welfare of
 12    their employees, contrary to public policy and clear statutory obligations.
 13          137. As a result of the actions of Defendants in failing and refusing to pay
 14    the minimum wages required by law, Plaintiff was damaged by not receiving
 15    compensation which she should have received, but did not receive. Plaintiff is
 16    therefore entitled to compensation in an amount to be proven at trial for unpaid
 17    wages, pre-judgment interest, penalties, attorneys’ fees and costs pursuant to Cal.
 18    Lab. Code § 1194 and other applicable statutes.
 19                              FIFTH CAUSE OF ACTION
 20    FAILURE TO PAY OVERTIME WAGES IN VIOLATION OF CAL. LAB. CODE §§ 510,
 21                                        1194, & 1197
 22                   (By Plaintiff Individually Against All Defendants)
 23          138. Plaintiff hereby incorporates by reference and re-alleges each and
 24    every allegation set forth in each and every preceding paragraph as though fully
 25    set forth herein.
 26          139. At all relevant times, Plaintiff has been a non-exempt employee of
 27    Defendants and is entitled to the full protections of the California Labor Code
 28    and of the applicable IWC Wage Order(s).
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  1          140. Cal. Lab. Code § 1198 makes it unlawful for an employer to employ
  2    any person under conditions of employment that violate the Wage Order.
  3          141. Section 2(K) of IWC Wage Order 5 and section 2(H) of IWC Wage
  4    Order 10 define “hours worked” as “the time during which an employee is subject
  5    to the control of the employer, [which] includes all the time the employee is
  6    suffered or permitted to work, whether or not required to do so.” An employer
  7    must pay its employees for all “hours worked.”
  8          142. Cal. Lab. Code §§ 510 and 1194, and Section 3 of the Wage Orders,
  9    require employers to pay overtime wages to their non-exempt employees at no
 10    less than one and one-half (1 ½) times their regular rates of pay for all hours
 11    worked in excess of eight (8) hours in one workday, all hours worked in excess of
 12    forty (40) hours in one workweek, and for the first eight (8) hours worked on a
 13    seventh consecutive workday.
 14          143. Cal. Lab. Code §§ 510 and 1194, and Section 3 of the Wage Orders,
 15    also require employers to pay overtime wages to their non-exempt employees at
 16    no less than two (2) times their regular rates of pay for all hours worked in excess
 17    of twelve (12) hours in one workday, and for all hours worked in excess of eight
 18    (8) hours on a seventh consecutive workday.
 19          144. At relevant times during their employment, Defendants failed to pay
 20    Plaintiff overtime wages for overtime hours worked.
 21          145. Pursuant to Cal. Lab. Code § 1194, Plaintiff seeks recovery of all
 22    unpaid overtime wages, interest thereon, costs of suit, and reasonable attorneys’
 23    fees, all in amounts subject to proof.
 24    ///
 25    ///
 26    ///
 27    ///
 28    ///
             COLLECTIVE COMPLAINT FOR DAMAGES; DEMAND FOR JURY TRIAL
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  1                              SIXTH CAUSE OF ACTION
  2    FAILURE TO FURNISH ACCURATE WAGE STATEMENTS, CAL. LAB. CODE §§ 226,
  3                                           ET. SEQ.

  4                   (By Plaintiff Individually Against All Defendants)
  5          146. Plaintiff hereby incorporates by reference and re-alleges each and
  6    every allegation set forth in each and every preceding paragraph as though fully
  7    set forth herein.
  8          147. Cal. Lab Code § 226(a) mandates that “[e]very employer shall,
  9    semimonthly or at the time of each payment of wages, furnish each of his or her
 10    employees, either as a detachable part of the check, draft, or voucher paying the
 11    employee’s wages, or separately when wages are paid by personal check or cash,
 12    an accurate itemized statement in writing showing (1) gross wages earned, (2)
 13    total hours worked by the employee, except for any employee whose
 14    compensation is solely based on a salary and who is exempt from payment of
 15    overtime under subdivision (a) of Section 515 or any applicable order of the
 16    Industrial Welfare Commission, (3) the number of piece-rate units earned and any
 17    applicable piece rate if the employee is paid on a piece-rate basis, (4) all
 18    deductions, provided that all deductions made on written orders of the employee
 19    may be aggregated and shown as one item, (5) net wages earned, (6) the inclusive
 20    dates of the period for which the employee is paid, (7) the name of the employee
 21    and only the last four digits of his or her social security number or an employee
 22    identification number other than a social security number, (8) the name and
 23    address of the legal entity that is the employer and, if the employer is a farm labor
 24    contractor, as defined in subdivision (b) of Section 1682, the name and address of
 25    the legal entity that secured the services of the employer, and (9) all applicable
 26    hourly rates in effect during the pay period and the corresponding number of
 27    hours worked at each hourly rate by the employee and, beginning July 1, 2013, if
 28    the employer is a temporary services employer as defined in Section 201.3, the
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  1    rate of pay and the total hours worked for each temporary services assignment.”
  2    (Emphasis added.)
  3          148. Pursuant to Cal. Lab. Code § 226(e)(2)(B), “an employee is deemed
  4    to suffer injury for purposes of this subdivision if the employer fails to provide
  5    accurate and complete information as required by any one or more of items”
  6    identified above.
  7          149. As alleged in Plaintiff’s causes of action, Defendants, and each of
  8    them, regularly failed to compensate Plaintiff for all of her overtime hours
  9    worked, as well as for her missed meal and rest breaks.
 10          150. Furthermore, Defendants did not regularly furnished wage statements
 11    that identified the inclusive dates for that wage statement, in violation of Cal. Lab.
 12    Code §§ 226, et seq.
 13          151. Pursuant to Cal. Lab. Code § 226, Plaintiff seeks damages, costs of
 14    suit, and reasonable attorneys’ fees in an amount to be proven at the time of trial.
 15                            SEVENTH CAUSE OF ACTION
 16                 WAITING TIME PENALTIES, CAL. LAB. CODE §§ 201-203
 17                   (By Plaintiff Individually Against All Defendants)
 18          152. Plaintiff hereby incorporates by reference and re-alleges each and
 19    every allegation set forth in each and every preceding paragraph as though fully
 20    set forth herein.
 21          153. At all times relevant herein, Defendants were required to pay their
 22    employees all wages owed in a timely fashion during and at the end of their
 23    employment, pursuant to Cal. Lab. Code §§ 201–203.
 24          154. As a pattern and practice, Defendants regularly failed to pay Plaintiff
 25    her final wages pursuant to Cal. Lab. Code §§ 201–203, and accordingly owe
 26    waiting time penalties pursuant to Cal. Lab. Code § 203.
 27    ///
 28    ///
             COLLECTIVE COMPLAINT FOR DAMAGES; DEMAND FOR JURY TRIAL
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  1           155. The conduct of Defendants and their agents and managerial
  2    employees as described herein was willful, and in violation of the rights of
  3    Plaintiff.
  4           156. Plaintiff is informed and believes, and on that basis alleges, that
  5    Defendants’ willful failure to pay wages due and owed to her upon separation
  6    from employment results in a continued payment of wages up to thirty (30) days
  7    from the time the wages were due. Therefore, Plaintiff is entitled to compensation
  8    pursuant to Cal. Lab. Code § 203.
  9                              EIGHTH CAUSE OF ACTION
 10    FAILURE TO INDEMNIFY BUSINESS EXPENSES IN VIOLATION OF CAL. LAB. CODE
 11                                               § 2802
 12                    (By Plaintiff Individually Against All Defendants)
 13           157. Plaintiff hereby incorporates by reference and re-alleges each and
 14    every allegation set forth in each and every preceding paragraph as though fully
 15    set forth herein.
 16           158. Cal. Lab. Code § 2802 requires employers, including Defendants, to
 17    indemnify employees for all necessary expenditures incurred by the employee in
 18    performing her job.
 19           159. As alleged herein, Defendants required Plaintiff, as a condition of her
 20    employment, pay a daily “house fee” of thirty U.S. Dollars ($30) to forty U.S.
 21    Dollars ($40) in order to fulfill Plaintiff’s job duties.
 22           160. As alleged herein, Defendants required Plaintiff, as a condition of her
 23    employment, pay “late fees” and “leave early fees” and any balances from
 24    previous shifts in order to fulfill Plaintiff’s job duties.
 25           161. Such expenditures by Plaintiff are incurred in direct consequence of
 26    the discharge of Plaintiff’s job duties.
 27    ///
 28    ///
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                                                  – 27 –
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  1           162. As a direct and proximate result of Defendants’ failure to reimburse
  2    Plaintiff for these necessary expenditures, Plaintiff has been injured in an amount
  3    to be proved at trial.
  4           163. Plaintiff is, therefore, entitled to recover reimbursement for these
  5    necessary expenditures, and also to recover costs, interest, and attorneys’ fees as
  6    provided by California law.
  7                               NINTH CAUSE OF ACTION
  8          COMPULSION AND COERCION TO PATRONIZE EMPLOYER AND/OR OTHER
  9                        PERSONS IN VIOLATION OF CAL. LAB. CODE §450
 10                    (By Plaintiff Individually Against All Defendants)
 11           164. Plaintiff hereby incorporates by reference and re-alleges each and
 12    every allegation set forth in each and every preceding paragraph as though fully
 13    set forth herein.
 14           165. Cal. Lab. Code § 450 provides that no employer “may compel or
 15    coerce any employee, or applicant for employment, to patronize his or her
 16    employer, or any other person, in the purchase of anything of value.”
 17           166. As alleged herein, Defendants required Plaintiff to purchase various
 18    fees such as the “house fee,” the “late fee,” and the “leave early fee” from
 19    Defendants and/or other specific persons.
 20           167. As a direct and proximate result of Defendants’ requirement that
 21    Plaintiff purchase anything of value, including the “house fee,” the “late fee,” and
 22    the “leave early fee” from Defendants and/or other specific persons, Plaintiff has
 23    been injured in an amount to be proved at trial.
 24           168. By requiring Plaintiff to purchase said fees to do her job, Defendants
 25    compelled and coerced Plaintiff to patronize The Strip Joint.
 26           169. Plaintiff is, therefore, entitled to recover damages, and also to
 27    recover costs, interest, and attorney’s fees as provided by California law.
 28    ///
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  1                              TENTH CAUSE OF ACTION
  2                         UNFAIR COMPETITION IN VIOLATION OF
  3                        CAL. BUS. & PROF. CODE §§ 17200, ET SEQ.
  4                          (By Plaintiff and on behalf of the class
  5                                 Against All Defendants)
  6          170. Plaintiff hereby incorporates by reference and re-alleges each and
  7    every allegation set forth in each and every preceding paragraph as though fully
  8    set forth herein.
  9          171. Cal. Bus. & Prof. Code § 17200 defines “unfair competition” to
 10    include any unlawful business practice.
 11          172. Cal. Bus. & Prof. Code §17204 allows a person who has lost money
 12    or property as a result of unfair competition to bring an action for restitution of
 13    money or property acquired from him or her by means of unfair competition.
 14          173. The FLSA prohibits employers to divert any part of an employee’s
 15    wages and overtime wages, including tips and gratuity, to itself.
 16          174. In violation of these requirements, as set forth above, Defendants
 17    violated 29 U.S.C. § 203 by forcing Plaintiff and the FLSA Class Members to
 18    participate in an invalid tip-pool with employees who typically do not receive
 19    tips. Additionally, Defendants forced Plaintiff to use portions of her tip wages to
 20    pay Defendant managers as well as “house fees” and other fees and fines.
 21          175. In violation of these requirements, as set forth above, Defendants
 22    violated 29 U.S.C. § 206 and 29 U.S.C. § 207 by failing to pay Plaintiff and the
 23    FLSA Class Members minimum wages and overtime wages.
 24          176. As a result of Defendants’ above-alleged unlawful business practices,
 25    Plaintiff and the FLSA Class Members have lost monies and property by means
 26    of unfair competition.
 27    ///
 28    ///
             COLLECTIVE COMPLAINT FOR DAMAGES; DEMAND FOR JURY TRIAL
                                               – 29 –
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  1          177. At all relevant times during her employment, Plaintiff was a non-
  2    exempt employee of Defendants and was thus entitled to the full benefits and
  3    working protections of the Cal. Lab. Code and the applicable Wage Order(s).
  4          178. Cal. Lab. Code §§ 226, 201-203, 450, 510, 1194, 1197, and 2802 and
  5    Section 3 of the Wage Orders, require employers to furnish accurate wage
  6    statements, comply with waiting time regulations, to prohibit the compelled
  7    patronization of the employer, pay overtime wages, pay minimum wages and
  8    indemnify business expenses to their non-exempt employees.
  9          179. In violation of these requirements, as set forth above, Defendants
 10    failed to furnish accurate wage statements to Plaintiff.
 11          180. In violation of these requirements, as set forth above, Defendants
 12    failed to comply with waiting time regulations.
 13          181. In violation of these requirements, as set forth above, Defendants
 14    compelled Plaintiff to patronize XPosed.
 15          182. In violation of these requirements, as set forth above, Defendants
 16    failed to pay Plaintiff overtime wages for hours that she worked.
 17          183. In violation of these requirements, as set forth above, Defendants
 18    failed to pay Plaintiff minimum wages for the hours that she worked.
 19          184. In violation of these requirements, as set forth above, Defendants
 20    failed to indemnify business expenses to Plaintiff.
 21          185. As a result of Defendants’ above-alleged unlawful business practices,
 22    Plaintiff has lost monies and property by means of unfair competition.
 23          186. Pursuant to Cal. Bus. & Prof. Code § 17204, Plaintiff seeks an order
 24    of restitution for all monies and property that Defendants have acquired from her
 25    by means of unfair competition from the forced tip pooling.
 26          187. Plaintiff is seeking minimum wages, overtime wages, accurate wage
 27    statements, waiting time penalties, indemnification of business expenses and
 28    patronization of employer claims under this cause of action.
            COLLECTIVE COMPLAINT FOR DAMAGES; DEMAND FOR JURY TRIAL
                                               – 30 –
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  1                              PRAYER FOR RELIEF
  2         WHEREFORE, Plaintiff requests of this Court the following relief:
  3               1. For compensatory damages according to proof at trial of at least
  4                  $100,000 for jurisdictional purposes;
  5               2. For special damages according to proof at trial;
  6               3. For restitution of unpaid monies;
  7               4. For attorneys’ fees;
  8               5. For costs of suit incurred herein;
  9               6. For statutory penalties;
 10               7. For civil penalties;
 11               8. For pre-judgment interest;
 12               9. For post-judgement interest;
 13               10.For general damages in an amount to be proven at trial;
 14               11.For declaratory relief;
 15               12.For injunctive relief; and
 16               13.For such other and further relief as the tribunal may deem just and
 17                  proper.
 18
 19    Dated: December 9, 2019                          KRISTENSEN LLP
 20
                                                        /s/ John P. Kristensen
 21                                                     John P. Kristensen
                                                        Jesenia A. Martinez
 22
                                                        Jacob J. Ventura
 23                                                     Attorneys for Plaintiff
 24
 25
 26
 27
 28
            COLLECTIVE COMPLAINT FOR DAMAGES; DEMAND FOR JURY TRIAL
                                               – 31 –
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  1                            DEMAND FOR JURY TRIAL
  2         Plaintiff hereby demands a trial by jury for all such triable claims.
  3
       Dated: December 9, 2019                         KRISTENSEN LLP
  4
  5                                                    /s/ John P. Kristensen
                                                       John P. Kristensen
  6                                                    Jesenia A. Martinez
  7                                                    Jacob J. Ventura
                                                       Attorneys for Plaintiff
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            COLLECTIVE COMPLAINT FOR DAMAGES; DEMAND FOR JURY TRIAL
                                             – 32 –
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                           EXHIBIT
                                  “1”
DocuSign Envelope ID: 951A3ACA-1C73-4471-A550-CA525CF724DA
          Case 2:19-cv-10414-CBM-JPR Document 1 Filed 12/09/19 Page 34 of 34 Page ID #:34
                                                                                            John P. Kristensen
                                                                                           Jesenia A. Martinez
                                                                                              Jacob J. Ventura




                                           CONSENT FORM FOR WAGE CLAIM

            Printed Name:


            1.        I consent and agree to be represented by Kristensen LLP and Hughes
            Ellzey, LLP and to pursue my claims of unpaid overtime and/or minimum wage
            through the lawsuit filed against my employer under the Fair Labor Standards Act
            and/or applicable state laws.



            2.        I intend to pursue my claim individually, unless and until the court certifies
            this case as a collective or class action. I agree to serve as the class
            representative if the court approves. If someone else serves as the class
            representative, then I designate the class representatives as my agents to make
            decisions on my behalf concerning the litigation, the method and manner of
            conducting the litigation, the entering of an agreement with the plaintiffs' counsel
            concerning attorney's fees and costs, and all other matters pertaining to this
            lawsuit.



            3.       If my consent form is stricken or if I am for any reason not allowed to
            participate in this case, I authorize Plaintiffs’ counsel to use this Consent Form to
            re-file my claims in a separate or related action against my employer.
                                                                           12/4/2019
            (Signature) __                       ___________ (Date Signed) _____________________




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